                              Case 21-33859 Document 29 Filed in TXSB on 12/17/21 Page 1 of 28


 Fill in this information to identify the case:
 Debtor name Tabula Rasa Partners, LLC
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS                                                                               Check if this is an

 Case number (if known):                21-33859                                                                                                      amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 BP Energy Company                                               potential deficiency Contingent                                                                         UNKNOWN
 201 Helios Way                                                  on secured claim     Unliquidated
 Houston, TX 77079
 CapturePoint LLC                                                services pursuant                                                                                    $1,022,060.00
 1101 Central                                                    to JOA
 Expressway South
 Suite 150
 Allen, TX 75013
 Carson Rollins LLC                                              professional                                                                                               $6,600.00
 P.O. Box 1105                                                   services
 Houston, TX 77251
 Larry Long                                                      Royalty                Contingent                                                                      $100,000.00
 P.O. Box 1777                                                   Contingency from       Disputed
 Kilgore, TX 75663                                               2014
 Oxy Permian CO2                                                                        Disputed                                                                        $266,507.45
 5 Greenway Plaza
 Ste 110
 Houston, TX 77046
 PetroLedger Financial                                          Trade Debt                                                                                                    $924.91
 Services
 800 Isom Road Suite
 101
 San Antonio, TX
 78216
 Soap Engineering,                                                                      Disputed                                                                                  $0.00
 LLC
 c/o Lekeaka Defang
 Mian & Associates
 Law Firm, PLLC
 2401 Fountain View
 Dr., Ste. 460
 Houston, TX 77057
 Sunoco Pipeline LP                                              Trade Debt                                                                                             $200,157.77
 8020 Park Lane
 Dallas, TX 75231




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Fill in this information to identify the case:

 Debtor name            Tabula Rasa Partners, LLC

 United States Bankruptcy Court for the:                       SOUTHERN DISTRICT OF TEXAS

 Case number (if known)               21-33859
                                                                                                                                                                                    Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $        4,128,449.19

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $        4,128,449.19


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $      19,618,575.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$        1,596,250.13


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $        21,214,825.13




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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 Fill in this information to identify the case:

 Debtor name          Tabula Rasa Partners, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF TEXAS

 Case number (if known)         21-33859
                                                                                                                                  Check if this is an
                                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                        12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest

 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                             number
                     JPMorgan Chase Bank, N.A.
                     P O Box 182051
            3.1.     Columbus OH 43218-2051                                 Operating                        6803                               $2,351,188.00



 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                                $2,351,188.00
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No.   Go to Part 3.
       Yes Fill in the information below.

 Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.
 11.        Accounts receivable
            11a. 90 days old or less:                        1,714,537.00    -                                0.00 = ....                       $1,714,537.00
                                              face amount                        doubtful or uncollectible accounts




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                              page 1
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 Debtor         Tabula Rasa Partners, LLC                                                    Case number (If known) 21-33859
                Name


 12.       Total of Part 3.                                                                                                       $1,714,537.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

     No. Go to Part 5.
     Yes Fill in the information below.
                                                                                                     Valuation method used     Current value of
                                                                                                     for current value         debtor's interest

 14.       Mutual funds or publicly traded stocks not included in Part 1
           Name of fund or stock:

 15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
           partnership, or joint venture
           Name of entity:                                               % of ownership


           15.1.     Tabula Rasa Resources, LLC                                     100       %                                             Unknown




           15.2.     Tabulsa Rasa CO2 Company, LLC                                  100       %                                             Unknown



 16.       Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
           Describe:


 17.       Total of Part 4.                                                                                                                 $0.00
           Add lines 14 through 16. Copy the total to line 83.

 Part 5:    Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

     No.    Go to Part 6.
     Yes Fill in the information below.

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No.    Go to Part 7.
     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No.    Go to Part 8.
     Yes Fill in the information below.

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No. Go to Part 9.
     Yes Fill in the information below.


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 2
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 Debtor         Tabula Rasa Partners, LLC                                                     Case number (If known) 21-33859
                Name

           General description                                                Net book value of       Valuation method used      Current value of
           Include year, make, model, and identification numbers              debtor's interest       for current value          debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           See attached.                                                           $3,216,086.00                                              Unknown



 51.       Total of Part 8.                                                                                                                   $0.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
            No
            Yes
 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
            No
            Yes
 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No. Go to Part 10.
     Yes Fill in the information below.
 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of       Valuation method used     Current value of
           property                                       extent of           debtor's interest       for current value         debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1.
                     Oil & Gas Properties -
                     See attached.                                                $18,558,000.00                                              Unknown




 56.       Total of Part 9.                                                                                                                     $0.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

 57.       Is a depreciation schedule available for any of the property listed in Part 9?
            No
            Yes
 58.       Has any of the property listed in Part 9 been appraised by a professional within the last year?
            No
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 3
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 Debtor         Tabula Rasa Partners, LLC                                                    Case number (If known) 21-33859
                Name


             Yes
 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No.    Go to Part 11.
     Yes Fill in the information below.

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No. Go to Part 12.
     Yes Fill in the information below.
                                                                                                                               Current value of
                                                                                                                               debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)

 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims

 76.        Trusts, equitable or future interests in property

 77.        Other property of any kind not already listed Examples: Season tickets,
            country club membership

            Prepaid Expenses                                                                                                             $62,724.19




 78.        Total of Part 11.                                                                                                          $62,724.19
            Add lines 71 through 77. Copy the total to line 90.

 79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?
             No
             Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 4
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                           Case 21-33859 Document 29 Filed in TXSB on 12/17/21 Page 7 of 28

 Debtor          Tabula Rasa Partners, LLC                                                                           Case number (If known) 21-33859
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                        $2,351,188.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                 $1,714,537.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                  $62,724.19

 91. Total. Add lines 80 through 90 for each column                                                         $4,128,449.19            + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $4,128,449.19




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 5
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 Fill in this information to identify the case:

 Debtor name          Tabula Rasa Partners, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF TEXAS

 Case number (if known)              21-33859
                                                                                                                                        Check if this is an
                                                                                                                                             amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                   Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                               that supports this
                                                                                                                   Do not deduct the value     claim
                                                                                                                   of collateral.
 2.1    BP Energy Company                             Describe debtor's property that is subject to a lien              $1,060,575.00                   Unknown
        Creditor's Name                               All assets
        201 Helios Way
        Houston, TX 77079
        Creditor's mailing address                    Describe the lien
                                                      ISDA - 2002 Master Agreement
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative
        priority.                                      Disputed


 2.2    Cibolo Energy Partners I, LP                  Describe debtor's property that is subject to a lien            $18,558,000.00                    Unknown
        Creditor's Name                               All assets
        1455 West Loop South Ste
        230
        Houston, TX 77027
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply




Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 2
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 Debtor       Tabula Rasa Partners, LLC                                                         Case number (if known)         21-33859
              Name


        No                                            Contingent
                                                       Unliquidated
          Yes. Specify each creditor,
       including this creditor and its relative        Disputed
       priority.



                                                                                                                         $19,618,575.
 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                  00

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         Tabula Rasa Partners, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF TEXAS

 Case number (if known)          21-33859
                                                                                                                                                    Check if this is an
                                                                                                                                                       amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                       12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.

 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     Unknown
           BP Energy Company                                                  Contingent
           201 Helios Way
           Houston, TX 77079
                                                                              Unliquidated
                                                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    potential deficiency on secured claim
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $1,022,060.00
           CapturePoint LLC                                                   Contingent
           1101 Central Expressway South                                      Unliquidated
           Suite 150                                                          Disputed
           Allen, TX 75013
                                                                             Basis for the claim:    services pursuant to JOA
           Date(s) debt was incurred 10/29/2021
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                    $6,600.00
           Carson Rollins LLC                                                 Contingent
           P.O. Box 1105                                                      Unliquidated
           Houston, TX 77251                                                  Disputed
           Date(s) debt was incurred     12/07/2021                          Basis for the claim:    professional services
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $100,000.00
           Larry Long                                                         Contingent
           P.O. Box 1777                                                      Unliquidated
           Kilgore, TX 75663
                                                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Royalty Contingency from 2014
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                         page 1 of 2
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 Debtor       Tabula Rasa Partners, LLC                                                               Case number (if known)            21-33859
              Name

 3.5       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.             $266,507.45
           Oxy Permian CO2                                                    Contingent
           5 Greenway Plaza Ste 110                                           Unliquidated
           Houston, TX 77046
                                                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.6       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $924.91
           PetroLedger Financial Services                                     Contingent
           800 Isom Road Suite 101                                            Unliquidated
           San Antonio, TX 78216                                              Disputed
           Date(s) debt was incurred 11/30/2021
                                                                             Basis for the claim:    Trade Debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.7       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  Unknown
           Soap Engineering, LLC
           c/o Lekeaka Defang                                                 Contingent
           Mian & Associates Law Firm, PLLC                                   Unliquidated
           2401 Fountain View Dr., Ste. 460                                   Disputed
           Houston, TX 77057
                                                                             Basis for the claim:
           Date(s) debt was incurred 08/06/2019
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.8       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.             $200,157.77
           Sunoco Pipeline LP                                                 Contingent
           8020 Park Lane                                                     Unliquidated
           Dallas, TX 75231                                                   Disputed
           Date(s) debt was incurred     10/6/2021                           Basis for the claim:    Trade Debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                            0.00
 5b. Total claims from Part 2                                                                            5b.    +   $                    1,596,250.13

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                        1,596,250.13




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         Tabula Rasa Partners, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF TEXAS

 Case number (if known)         21-33859
                                                                                                                                Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.      Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal             Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1.         State what the contract or                  ISDA - 2002 Master
              lease is for and the nature of              Agreement
              the debtor's interest

                  State the term remaining
                                                                                     BP Energy Company
              List the contract number of any                                        201 Helios Way
                    government contract                                              Houston, TX 77079


 2.2.         State what the contract or                  Joint Development
              lease is for and the nature of              Agreement
              the debtor's interest

                  State the term remaining                Expires September 1,       CapturePoint LLC
                                                          2024                       1101 Central Expressway South
              List the contract number of any                                        Suite 150
                    government contract                                              Allen, TX 75013


 2.3.         State what the contract or                  Contract Operating
              lease is for and the nature of              Agreement
              the debtor's interest

                  State the term remaining                                           CapturePoint LLC
                                                                                     1101 Central Expressway South
              List the contract number of any                                        Suite 150
                    government contract                                              Allen, TX 75013


 2.4.         State what the contract or                  Existing Property Net
              lease is for and the nature of              Income Payments related
              the debtor's interest                       to the Joint Development
                                                          Agreement dated
                                                          September 1, 2020
                  State the term remaining                                           CapturePoint LLC
                                                                                     1101 Central Expressway South
              List the contract number of any                                        Suite 150
                    government contract                                              Allen, TX 75013




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                            Page 1 of 3
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 Debtor 1 Tabula Rasa Partners, LLC                                                              Case number (if known)   21-33859
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.5.        State what the contract or                   Net Profits Interest
             lease is for and the nature of               Agreement related to the
             the debtor's interest                        Joint Development
                                                          Agreement dated
                                                          September 1, 2020
                  State the term remaining                                               CapturePoint LLC
                                                                                         1101 Central Expressway South
             List the contract number of any                                             Suite 150
                   government contract                                                   Allen, TX 75013


 2.6.        State what the contract or                   Operating Agreement
             lease is for and the nature of               Contract Area: Township
             the debtor's interest                        30 South, Range 68
                                                          West, 6th P.M. Part of
                                                          Sections 5 and 6
                                                          Township 30 South,
                                                          Range 69 West, 6th P.M.
                                                          Part of Sections 1, 11,
                                                          12, 19, 20, 29, 30, 31,
                                                          32, 33
                                                          Containing 3,088.08
                                                          acres, more or less
                                                          Huerfano County State of
                                                          Colorado
                  State the term remaining                                               Edwards Energy Corporation
                                                                                         Attn: J. Keith Edwards
             List the contract number of any                                             1200 17th Street, Suite 1025
                   government contract                                                   Denver, CO 80202


 2.7.        State what the contract or                   Unit Operating
             lease is for and the nature of               Agreement - East
             the debtor's interest                        Seminole (San Andres)
                                                          Unit
                                                          Gaines County, Texas
                  State the term remaining

             List the contract number of any                                             G-M-K Oil Company, Inc.
                   government contract


 2.8.        State what the contract or                   Operating Agreement
             lease is for and the nature of
             the debtor's interest
                                                                                         Manzano, LLC
                  State the term remaining                                               Attn: Kenneth Barbe, Jr.
                                                                                         Spoon Valley Energy, LLC
             List the contract number of any                                             P.O. Box 2107
                   government contract                                                   Roswell, NM 88202


 2.9.        State what the contract or                   Letter Agreement/NDA
             lease is for and the nature of
             the debtor's interest                                                       Michael R. Keener
                                                                                         940 Gemini, Suite 200
                  State the term remaining                Expires 3 yrs. from May        Houston, TX 77058
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                        Page 2 of 3
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 Debtor 1 Tabula Rasa Partners, LLC                                                             Case number (if known)   21-33859
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

                                                          17, 2021
             List the contract number of any
                   government contract


 2.10.       State what the contract or                   Unit Operating
             lease is for and the nature of               Agreement - Lindoss Unit
             the debtor's interest                        Gaines County, Texas

                  State the term remaining                                              Mobil Producing Texas & New Mexico, Inc.
                                                                                        Attn Mobil OBO Expenditures
             List the contract number of any                                            P.O. Box 951027
                   government contract                                                  Dallas, TX 75395


 2.11.       State what the contract or                   Accounting Services
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                              PetroLedger LLC
                                                                                        (Eddye Dreyer Financial Services, LLC)
             List the contract number of any                                            800 Isom Road, Suite 101
                   government contract                                                  San Antonio, TX 78216


 2.12.       State what the contract or                   Emma San Andres Unit
             lease is for and the nature of               JOA
             the debtor's interest                        Andrews County, Texas
                                                                                        Sinclair Oil & Gas Company
                  State the term remaining                                              Corporation Service Company dba CSC-
                                                                                        Lawyers Incorporating Service Company
             List the contract number of any                                            211 E. 7th Street, Suite 620
                   government contract                                                  Austin, TX 78701


 2.13.       State what the contract or                   Pipeline Throughout and
             lease is for and the nature of               Deficiency Agreement
             the debtor's interest

                  State the term remaining                Expires May 2, 2027
                                                                                        Sunoco Pipeline L.P.
             List the contract number of any                                            3807 West Chester Pike
                   government contract                                                  Newtown Square, PA 19073




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                       Page 3 of 3
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 Fill in this information to identify the case:

 Debtor name         Tabula Rasa Partners, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF TEXAS

 Case number (if known)         21-33859
                                                                                                                           Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                  Name                            Check all schedules
                                                                                                                                that apply:

    2.1      Tabula Rasa                                                                        Cibolo Energy Partners          D       2.2
             Resources, LLC                                                                     I, LP                            E/F
                                                                                                                                G



    2.2      Tabulsa Rasa                                                                       Cibolo Energy Partners          D       2.2
             CO2 Company,                                                                       I, LP                            E/F
             LLC
                                                                                                                                G




Official Form 206H                                                      Schedule H: Your Codebtors                                           Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Tabula Rasa Partners, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF TEXAS

 Case number (if known)         21-33859
                                                                                                                                          Check if this is an
                                                                                                                                             amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

       None.
       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                            Gross revenue
       which may be a calendar year                                                            Check all that apply                          (before deductions and
                                                                                                                                             exclusions)

       For prior year:                                                                          Operating a business                               $11,430,278.00
       From 1/01/2020 to 12/31/2020
                                                                                                Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

       None.
                                                                                               Description of sources of revenue             Gross revenue from
                                                                                                                                             each source
                                                                                                                                             (before deductions and
                                                                                                                                             exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

       None.
       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.1.
               BP Energy Company                                           09/08/2021                      $142,192.50          Secured debt
               201 Helios Way                                                                                                   Unsecured loan repayments
               Houston, TX 77079                                                                                                Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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 Debtor       Tabula Rasa Partners, LLC                                                                 Case number (if known) 21-33859



       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.2.
               Chase Bank                                                  09/15/2021                         $2,518.25         Secured debt
               PO Box 182501                                                                                                    Unsecured loan repayments
               Columbus, OH 43218-2051                                                                                          Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.3.
               Carson Rollins LLC                                          09/20/2021                         $6,600.00         Secured debt
               P.O. Box 1105                                                                                                    Unsecured loan repayments
               Houston, TX 77251                                                                                                Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.4.
               The Strong Firm P.C.                                        09/20/2021                         $5,097.92         Secured debt
               1790 Hughes Landing Blvd Ste 200                                                                                 Unsecured loan repayments
               Spring, TX 77380                                                                                                 Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.5.
               PetroLedger Financial Services                              09/20/2021                           $692.50         Secured debt
               800 Isom Road                                                                                                    Unsecured loan repayments
               San Antonio, TX 78216                                                                                            Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.6.
               Sunoco Pipeline LP                                          09/29/2021                      $186,263.00          Secured debt
               8020 Park Lane                                                                                                   Unsecured loan repayments
               Dallas, TX 75231                                                                                                 Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.7.
               CapturePoint LLC                                            09/29/2021                    $1,174,527.53          Secured debt
               1101 Central Expressway South                                                                                    Unsecured loan repayments
               Suite 150                                                                                                        Suppliers or vendors
               Allen, TX 75013
                                                                                                                                Services
                                                                                                                                Other

       3.8.
               Gibson Dunn & Crutcher                                      09/30/2021                       $14,963.74          Secured debt
               811 Main Street                                                                                                  Unsecured loan repayments
               Houston, TX 77002                                                                                                Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.9.
               BP Energy Company                                           10/07/2021                      $207,037.50          Secured debt
               201 Helios Way                                                                                                   Unsecured loan repayments
               Houston, TX 77079                                                                                                Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 2
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 Debtor      Tabula Rasa Partners, LLC                                                                  Case number (if known) 21-33859



       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.10
       .
            Chase Bank                                                     10/15/2021                         $2,602.72         Secured debt
               PO Box 182501                                                                                                    Unsecured loan repayments
               Columbus, OH 43218                                                                                               Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.11
       .
            Carson Rollins LLC                                             10/25/2021                         $6,600.00         Secured debt
               PO Box 1105                                                                                                      Unsecured loan repayments
               Houston, TX 77251                                                                                                Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.12
       .
            PetroLedger Financial Services                                 10/25/2021                           $740.00         Secured debt
               800 Isom Road Suite 101                                                                                          Unsecured loan repayments
               San Antonio, TX 78216                                                                                            Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.13
       .
            The Strong Firm P.C.                                           10/25/2021                         $1,286.94         Secured debt
               1790 Hughes Landing Blvd Ste 200                                                                                 Unsecured loan repayments
               The Woodlands, TX 77380                                                                                          Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.14
       .
            Porter Hedges LLP                                              10/25/2021                       $20,000.00          Secured debt
               1000 Main Street, 36th Floor                                                                                     Unsecured loan repayments
               Houston, TX 77002                                                                                                Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.15
       .
            BP Energy Company                                              11/05/2021                      $349,575.00          Secured debt
               1101 Central Expressway S Ste 150                                                                                Unsecured loan repayments
               Allen, TX 75013                                                                                                  Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.16
       .
            Carson Rollins LLC                                             11/15/2021                         $7,310.00         Secured debt
               P.O. Box 1105                                                                                                    Unsecured loan repayments
               Houston, TX 77251                                                                                                Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.17
       .
            Chase Bank                                                     11/15/2021                         $2,549.15         Secured debt
               PO Box 182501                                                                                                    Unsecured loan repayments
               Columbus, OH 43218                                                                                               Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other



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 Debtor       Tabula Rasa Partners, LLC                                                                 Case number (if known) 21-33859



       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.18
       .
            CapturePoint LLC                                               11/17/2021                       $63,111.97          Secured debt
               1101 Central Expressway South                                                                                    Unsecured loan repayments
               Suite 150                                                                                                        Suppliers or vendors
               Allen, TX 75013
                                                                                                                                Services
                                                                                                                                Other

       3.19
       .
            Porter Hedges LLP                                              11/18/2021                         $3,953.75         Secured debt
               1000 Main Street, 36th Floor                                                                                     Unsecured loan repayments
               Houston, TX 77002                                                                                                Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.20
       .
            Michael R. Keener                                              11/30/2021                       $50,000.00          Secured debt
               940 Gemini, Suite 200                                                                                            Unsecured loan repayments
               Houston, TX 77058                                                                                                Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.21
       .
            BP Energy Company                                              12/01/2021                      $308,610.00          Secured debt
               201 Helios Way                                                                                                   Unsecured loan repayments
               Houston, TX 77079                                                                                                Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.22
       .
            Porter Hedges LLP                                              12/03/2021                       $60,000.00          Secured debt
               1000 Main Street, 36th Floor                                                                                     Unsecured loan repayments
               Houston, TX 77002                                                                                                Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

       None.
       Insider's name and address                                          Dates                 Total amount of value         Reasons for payment or transfer
       Relationship to debtor
       4.1.    Michael R. Keener                                           12/1/21 and                     $100,000.00         Independent Director
               940 Gemini, Suite 200                                       5/25/21                                             Compensation
               Houston, TX 77058
               Independent Director

       4.2.    Cibolo Energy Partners, LLC                                 09/30/2021                      $432,021.42         Interest on Notes
               1455 West Loop South Ste 230
               Houston, TX 77027

       4.3.    Cibolo Energy Partners, LLC                                 09/30/2021                       $75,000.00         Annual Admin Fee
               1455 West Loop South Ste 230
               Houston, TX 77027

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 Debtor       Tabula Rasa Partners, LLC                                                                 Case number (if known) 21-33859



       Insider's name and address                                           Dates                Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.4.    Cibolo Energy Partners, LLC                                  06/29/2021                     $427,325.53           Interest on Notes
               1455 West Loop South Ste 230
               Houston, TX 77027

       4.5.    Cibolo Energy Partners, LLC                                  03/31/2021                     $422,629.65           Interest on Notes
               1455 West Loop South Ste 230
               Houston, TX 77027

       4.6.    Cibolo Energy Partners, LLC                                  12/30/2020                     $431,812.27           Interest on Notes
               1455 West Loop South Ste 230
               Houston, TX 77027

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

       None
       Creditor's name and address                               Describe of the Property                                      Date                   Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

       None
       Creditor's name and address                               Description of the action creditor took                       Date action was                  Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

       None.
               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address
       7.1.    Soap Engineering, LLC vs.                                                    Harris County District Court               Pending
               Perdure Petroleum, LLC; and                                                  334th Judicial District Court              On appeal
               Tabula Rasa Partners, LLC                                                    201 Caroline
               2021-51875                                                                   Houston, TX 77002
                                                                                                                                         Concluded



8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

       None

 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

       None
               Recipient's name and address                      Description of the gifts or contributions               Dates given                               Value


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 Debtor        Tabula Rasa Partners, LLC                                                                    Case number (if known) 21-33859



 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

       None
       Description of the property lost and                      Amount of payments received for the loss                 Dates of loss       Value of property
       how the loss occurred                                                                                                                               lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

       None.
                 Who was paid or who received                        If not money, describe any property transferred           Dates           Total amount or
                 the transfer?                                                                                                                          value
                 Address
       11.1.     Porter Hedges LLP
                 1000 Main Street, 36th Floor
                 Houston, TX 77002                                                                                             10/25/2021          $20,000.00

                 Email or website address
                 www.porterhedges.com

                 Who made the payment, if not debtor?




       11.2.     Porter Hedges LLP
                 1000 Main Street, 36th Floor
                 Houston, TX 77002                                                                                             11/18/2021            $3,953.75

                 Email or website address
                 www.porterhedges.com

                 Who made the payment, if not debtor?




       11.3.     Porter Hedges LLP
                 1000 Main Street, 36th Floor
                 Houston, TX 77002                                                                                             12/03/2021          $60,000.00

                 Email or website address
                 www.porterhedges.com

                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.




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 Debtor      Tabula Rasa Partners, LLC                                                                   Case number (if known) 21-33859




       None.
       Name of trust or device                                       Describe any property transferred                Dates transfers             Total amount or
                                                                                                                      were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

       None.
               Who received transfer?                            Description of property transferred or                  Date transfer            Total amount or
               Address                                           payments received or debts paid in exchange             was made                          value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


       Does not apply
                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
       Yes. Fill in the information below.

                Facility name and address                        Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
       Yes. State the nature of the information collected and retained.
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
       Yes. Does the debtor serve as plan administrator?

 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units




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 Debtor      Tabula Rasa Partners, LLC                                                                  Case number (if known) 21-33859




18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

       None
                Financial Institution name and                   Last 4 digits of         Type of account or          Date account was           Last balance
                Address                                          account number           instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


       None
       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


       None
       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None

 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
       Yes. Provide details below.
       Case title                                                    Court or agency name and             Nature of the case                   Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

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           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

       None
    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          None
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Carson Rollins LLC                                                                                                         10/01/20
                    P.O. Box 1105
                    Houston, TX 77251

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

           None
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.1.       Carson Rollins LLC
                    P.O. Box 1105
                    Houston, TX 77251
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.2.       Deloitte Tax LLP
                    1111 Bagby Street, Suite 4500
                    Houston, TX 77002

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           None
       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Carson Rollins LLC
                    P.O. Box 1105
                    Houston, TX 77251

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
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          statement within 2 years before filing this case.

           None
       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
       Yes. Give the details about the two most recent inventories.
               Name of the person who supervised the taking of the                           Date of inventory       The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Justin Teltschik & JW Sikora                   1455 West Loop South, Suite 230                     Board of Directors
                                                      Houston, TX 77027

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Michael R. Keener                              940 Gemini, Suite 200                               Board of Directors
                                                      Houston, TX 77058

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Cibolo TRP, LLC                                1455 West Loop South Ste 230                        Equity                                100%
                                                      Houston, TX 77027



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
       Yes. Identify below.

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

       No
           Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates              Reason for
                                                                 property                                                                   providing the value
       30.1 Michael R. Keener                                                                                                               Independent
       .    940 Gemini, Suite 200                                                                                        12/1/21 and        Director
               Houston, TX 77058                                 $100,000.00                                             5/25/21            Compensation

               Relationship to debtor
               Independent Director


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
       Yes. Identify below.

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    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
       Yes. Identify below.
    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         12/17/2021

/s/ Michael R. Keener                                                   Michael R. Keener
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Independent Director

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
 No
 Yes




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                                                               United States Bankruptcy Court
                                                                     Southern District of Texas
 In re      Tabula Rasa Partners, LLC                                                                    Case No.   21-33859
                                                                                 Debtor(s)               Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Tabula Rasa Partners, LLC in the above captioned action, certifies that the following
is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of
any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 Cibolo TRP, LLC




 None [Check if applicable]




12/17/2021                                                            /s/ Aaron J. Power
 Date                                                                Aaron J. Power
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Tabula Rasa Partners, LLC
                                                                     Porter Hedges LLP
                                                                     1000 Main Street, 36th Floor
                                                                     Houston, TX 77002
                                                                     (713) 226-6000 Fax:(713) 228-1331
                                                                     apower@porterhedges.com




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 Fill in this information to identify the case:

 Debtor name         Tabula Rasa Partners, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF TEXAS

 Case number (if known)         21-33859
                                                                                                                                 Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                 Schedule H: Codebtors (Official Form 206H)

                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

                 Other document that requires a declaration                Statement of Financial Affairs

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on         12/17/2021                               X   /s/ Michael R. Keener
                                                                         Signature of individual signing on behalf of debtor

                                                                         Michael R. Keener
                                                                         Printed name

                                                                         Independent Director
                                                                         Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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